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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11

Lordstown Motors Corp., et al.,1                                 Case No. 23-10831 (MFW)
                                                                 (Jointly Administered)

                                    Debtors.
                                                                 Obj. Deadline: February 2, 2024 at 4:00 p.m. ET
                                                                 Hearing Date: February 22, 2024 at 10:30 a.m. ET


                                  NOTICE OF MOTION AND HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) have filed the attached Debtors’ Second Motion for Entry of an Order
Extending the Deadline by Which Debtors May File Notices to Remove Actions (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that any objections or responses to the relief
requested in the Motion must be filed on or before February 2, 2024 at 4:00 p.m. (ET) (the
“Objection Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd
Floor, 824 North Market Street, Wilmington, Delaware 19801. At the same time, copies of any
responses or objections to the Motion must be served upon the undersigned counsel to the Debtors
so as to be received on or before the Objection Deadline.

     PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
MOTION WILL BE HELD ON February 22, 2024 AT 10:30 A.M. (ET) BEFORE THE
HONORABLE MARY F. WALRATH, IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET, 5TH FLOOR,
COURTROOM NO. 4, WILMINGTON, DELAWARE 19801.

     PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE
MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.




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       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
       service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.



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Dated: January 19, 2024                         WHITE & CASE LLP
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